                 Case 3:14-cv-00696-MO              Document 5-1          Filed 04/28/14       Page 1 of 2



AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                     District of Oregon

           NIKE, INC., an Oregon corporation,
                                                               )
                                                               )
                                                               )
                                                               )
                            Plaintiff(s)                       )
                                                               )
                                v.                                    Civil Action No.
TUNG WING HO, KYLE KEOKI YAMAGUCHI, DENISE                     )
  WEI-CHING YEE, SHU-CHU YAMAGUCHI, and                        )
            JASON M. KEATING                                   )
                                                               )
                                                               )
                           Defendant(s)                        )

                                                SUMMONS IN A CIVIL ACTION
                                 KYLE KEOKI YAMAGUCHI
To: (Defendant's name and address)1255 NW 9th Ave, Unit 403
                                 Portland, OR 97209




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Robert C. Weaver
                               Paul H. Trinchero
                               Garvey Schubert Barer
                               121 SW Morrison St., 11th Floor
                               Portland, OR 97204
                               Telephone: 503-228-3939

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                          CLERK OF COURT


Date:
                                                                                   Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                  on (date)                           ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who res ides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                 on (date)                            ; or

           0 I returned the summons unexecuted because                                                                              ; or

           0 Other (specify):




           My fees are$                            for travel and $                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                              Server's signature



                                                                                          Printed name and title




                                                                                              Server's address

Additional information regarding attempted service, etc:
